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FRHDBY“. 'll
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSEE _ ,l
wEsTERN DIVISION USAUG 5 A"|B 2b

 

GEHK pmng COUT
MUELLER cOPPER TUBE PRODUCTS, INC., W,B[;\§` TP;~MS

Plaintiff,

VS. NO. 04-2617-MaV

PENNSYLVANIA MANUFACTURERS' ASSN.
INSURANCE COMPANY,

Defendant.

 

ORDER AMENDING SCHEDULE

 

Before the court is defendant’s August l, 2005, unopposed
motion requesting that the court enter an amended scheduling
order in accordance with the new trial date which was set during
the May 24, 2005, status conference. For good cause shown, the
court grants the motion and amends the schedule as follows:
l. The deadline for completing discovery, including
production of documents and completion of depositions,
is November 15, 2005.

2. Expert witness depositions will be completed by
November 1, 2005.

3. The deadline for filing potentially dispositive motions
is November 15, 2005.

4. The parties will submit a proposed joint pretrial order
by 5:00 p.m. on February 3, 2006.

5. A pretrial conference is set Friday, February lO, 2006,

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at 10:00 a.m.
6. The case is reset for trial on Tuesday, February 2l,
2006r at 9:30 a.m. and is expected to take 3 to 4 days.
Absent good cause, the amended schedule set by this order
will not be modified or extended.

So ORDERED this q*k day of August, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

August 9, 2005 to the parties listed.

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Honorable Samuel Mays
US DISTRICT COURT

